       Case 1:21-cv-02265-APM Document 107 Filed 12/24/21 Page 1 of 8




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

CONRAD SMITH,

              and

DANNY McELROY

              and                                    Civil Action No. 1:21-cv-02265-APM

BYRON EVANS

              and

GOVERNOR LATSON,

              and

MELISSA MARSHALL

              and

MICHAEL FORTUNE

              and

JASON DEROCHE

              and

REGINALD CLEVELAND

                         Plaintiffs,
         v.

DONALD J. TRUMP, “solely in his personal capacity”

              and

DONALD J. TRUMP FOR PRESIDENT, INC.
c/o Bradley T. Crate

              and

MAKE AMERICA GREAT AGAIN PAC
        Case 1:21-cv-02265-APM Document 107 Filed 12/24/21 Page 2 of 8




c/o Bradley T. Crate

               and

STOP THE STEAL L.L.C.
c/o George B. Coleman

               and

ALI ALEXANDER, a/k/a
Ali Abdul Razaq Akbar, a/k/a Ali Abdul Akbar

               and

BRANDON J. STRAKA

               and

ROGER J. STONE, JR.

               and

PROUD BOYS, an unincorporated association

               and

PROUD BOYS INTERNATIONAL, L.L.C.
c/o Jason L. Van Dyke

               and

ENRIQUE TARRIO

               and

ETHAN NORDEAN

               and

JOSEPH R. BIGGS

               and

ZACHARY REHL

               and



                                               2
        Case 1:21-cv-02265-APM Document 107 Filed 12/24/21 Page 3 of 8




CHARLES DONOHOE

               and

DOMINIC J. PEZZOLA

               and

OATH KEEPERS
c/o Christopher R. Grobl, Esq.

               and

STEWART RHODES
          and

THOMAS E. CALDWELL
           and

JESSICA WATKINS

               and

KELLY MEGGS

               and

ALAN HOSTETTER

               and

RUSSELL TAYLOR

               and

ERIK SCOTT WARNER

               and

FELIPE ANTONIO “TONY” MARTINEZ

               and

DEREK KINNISON




                                      3
         Case 1:21-cv-02265-APM Document 107 Filed 12/24/21 Page 4 of 8




                and

RONALD MELE

                and

JOHN DOES 1-10,
                             Defendants.


                   DEFENDANT ZACHARY REHL’S RENEWED
               RULE 12(f) MOTION TO STRIKE IMPROPER MATERIAL
                   FROM PLAINTIFF’S AMENDED COMPLAINT

       Comes now the Defendant Zachary Rehl, and hereby moves to strike from the Amended

Complaint what is called in the law somewhat colorfully or curiously “immaterial, impertinent,

or scandalous matter” for the reasons set forth in his companion Memorandum of Law, pursuant

to Federal Rules of Civil Procedure Rule (“FRCP”) Rule 12(f), including allegations that are not

only added for improper purposes to falsely subvert the course of justice by inflaming and

deceiving the jury pool in the District of Columbia but are clearly false for both reasons in

violation of FRCP Rule 11.

       False and prejudicial allegations which are impertinent and deceptive and which are

sanctionable under FRCP 11 qualify as the oddly-named “scandalous” type of material which the

Court can and should strike from the Amended Complaint.

       FRCP Rule 12(f) authorizes such as follows:

               (f) MOTION TO STRIKE. The court may strike from a pleading an
               insufficient defense or any redundant, immaterial, impertinent, or
               scandalous matter. The court may act:
               (1) on its own; or
               (2) on motion made by a party either before responding to the
               pleading or, if a response is not allowed, within 21 days after being
               served with the pleading.

       While the son and grandson of police officers, Zachary Rehl, believes that U.S. Capitol




                                                 4
         Case 1:21-cv-02265-APM Document 107 Filed 12/24/21 Page 5 of 8




Police officers injured in the line of duty should be made whole as much as can be done by those

who actually injured them, false claims of racism are improper and do actual harm, possibly even

sparking physical confrontations in the future.

       The Defendant asks that the Plaintiffs restate their Complaint without reference to the

Klu Klux Klan (“KKK”), a “Klu Klux Klan Act,” or the unnecessary mention of the race of any

person, false and scurrilous allegations of racism or White supremacy, which is extremely

prejudicial and offensive and likely to confuse a jury chosen from the voters of the District of

Columbia.

       There is no “Klu Klux Klan Act” but only the Civil Rights Act of 1871. See, e.g., the

reference in Monell v. Department of Social Services of City of New York, 436 U.S. 658, 664, 98

S.Ct. 2018, 56 L.Ed.2d 611 (1978). Plaintiffs should not use an improper, little-used name for

Public Law (P.L.) 42-22 (April 20, 1871) -- Session 42, Chapter 22; 17 Stat. 13, formally named

"An Act to enforce the Provisions of the Fourteenth Amendment to the Constitution of the

United States and for other Purposes.” The other informal name of the Civil Rights Act of

1871 is “The Third Enforcement Act of 1871.” While the Act has occasionally been called by

this informal name, the unofficial name is improper and incendiary.

       Plaintiffs also seek to defame the Defendants out of court by this mis-use. Defendant

states that these references are sanctionable under FRCP Rule 11 as a further reason that they

should be ordered stricken from the Complaint.

       The Plaintiffs, by counsel, sanctionably allege “65. Many of the false claims of election

fraud propagated by Defendants targeted Black and minorities.” and “Giuliani falsely claimed there

had been widespread voter fraud in Detroit, Atlanta, Philadelphia, and Pittsburgh—all of which

have large Black populations—and that Philadelphia had “a sad history of voter fraud.”




                                                  5
           Case 1:21-cv-02265-APM Document 107 Filed 12/24/21 Page 6 of 8




       However, Guiliani never mentioned the race of anyone, to Defendant’s knowledge. No

claims had anything to do with the race or minority status of any voter.

       Furthermore, the claims made by those questioning the legitimacy of the 2020

Presidential election centered on the evidence that Democrat activists fraudulently voted in the

name of voters who did not actually vote themselves through reckless lessening of safeguards on

absentee voting, or that votes were cast for people who do not exist or are dead. Thus, the race

of the voter is irrelevant. While race is irrelevant in any event, it would be the race of the

criminal who stole someone else’s identity to cast a fraudulent vote who would be a starting

point. The actual voters whose votes were allegedly stolen are victims.

       The Black and other minority status of the voters whose vote was stolen fraudulently is

clearly irrelevant and “immaterial, impertinent, or scandalous matter” that is sanctionable under

Rule 11 and should be stricken under Rule 12(f).

       CONCLUSION

       Plaintiffs should be ordered to file an Amended Complaint without the objectionable

content.

       CERTIFICATE OF CONSULTATION

       When this same motion was filed against the original Complaint the Plaintiffs opposed it.




       REQUEST FOR HEARING

       Pursuant to Local Rules Rule 7.1(b), the Defendant Zachary Rehl requests oral argument.

The Defendant estimates the time required as thirty minutes for Defendant’s side of the argument



                                                  6
         Case 1:21-cv-02265-APM Document 107 Filed 12/24/21 Page 7 of 8




on this particular motion.

Dated: December 24, 2021            RESPECTFULLY SUBMITTED
                                    ZACHARY REHL, By Counsel




                                    USDCDC Bar No. VA005
                                    Virginia State Bar No. 41058
                                    Mailing address only:
                                    5765-F Burke Centre Parkway, PMB #337
                                    Burke, Virginia 22015
                                    Telephone: (703) 656-1230
                                    Facsimile: (703) 997-0937
                                    Contact@JonMoseley.com
                                    Moseley391@gmail.com




                       Mr. Damon Hewitt, Esq.
                       Jon Greenbaum, Esq., D.C. Bar No. 489887
                       Edward G. Caspar, Esq., D.C. Bar No. 1644168
                       David Brody, Esq., D.C. Bar No. 1021476
                       Arusha Gordon, Esq., D.C. Bar No. 1035129
                       Noah Baron, D.C. Esq., Bar No. 1048319
                       Adonne Washington Esq.,
                       Lawyers’ Committee for Civil Rights Under Law
                       1500 K Street N.W., Suite 900
                       Washington, DC 20005
                       Telephone: (202) 662-8300
                       jgreenbaum@lawyerscommittee.org
                       dhewitt@lawyerscommittee.org
                       ecaspar@lawyerscommittee.org
                       dbrody@lawyerscommittee.org
                       agordon@lawyerscommittee.org
                       nbaron@lawyerscommittee.org
                       awashington@lawyerscommittee.org
                       Legal Co-Counsel for Plaintiffs


                                              7
Case 1:21-cv-02265-APM Document 107 Filed 12/24/21 Page 8 of 8




          Mr. Robert C Buschel, Esq.
          BUSCHEL & GIBBONS, P.A.
          501 East Las Olas Boulevard, Suite 304
          Fort Lauderdale, Florida 33301
          Telephone: 954-530-5748
          Buschel@bglaw-pa.com
          Legal Counsel for Defendant Roger Stone

          Juli Zsuzsa Haller, Esq.
          LAW OFFICES OF JULIA HALLER
          601 Pennsylvania Avenue, NW, Suite 900
          S. Building
          Washington, DC 20036
          Telephone: 202-352-2615
          hallerjulia@outlook.com
          Legal Counsel for Kelly Meggs

          Stephen R. Klein, Esq.
          BARR & KLEIN PLLC
          1629 K Street NW, Suite. 300
          Washington, DC 20006
          Telephone: 202-804-6676
          steve@barrklein.com
          Legal Counsel for Brandon J. Straka

          Nicholas D. Smith
          DAVID B. SMITH, PLLC
          7 East 20th Street, Suite 4r
          New York, NY 10003
          Telephone: 917-902-3869
          nds@davidbsmithpllc.com
          Legal Counsel for Felipe Antonio Martinez




                                  8
